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12    Advertiser Classes
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14
                                   UNITED STATES DISTRICT COURT
15
                                NORTHERN DISTRICT OF CALIFORNIA
16
                                        SAN FRANCISCO DIVISION
17
   MAXIMILIAN KLEIN, et al., on behalf of             Consolidated Case No. 3:20-cv-08570-JD
18 themselves and all others similarly situated,
                                                      DECLARATION OF AMANDA F.
19            Plaintiffs,                             LAWRENCE IN SUPPORT OF
                                                      ADVERTISER PLAINTIFFS’
20          v.                                        OPPOSITION TO MOTION TO
                                                      EXCLUDE TESTIMONY OF DR.
21 META PLATFORMS, INC.,                              MICHAEL WILLIAMS AND KEVIN
                                                      KREITZMAN
22            Defendant.
                                                      Hearing Date: December 14, 2023
23                                                    Hearing Time: 10:00 a.m.
                                                      Courtroom: 11, 19th Floor
24
                                                      Judge: The Honorable James Donato
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     CONSOLIDATED CASE NO. 3:20-CV-08570-JD        DECL. OF AMANDA F. LAWRENCE ISO ADVERTISER PLAINTIFFS’
                                                                     OPP. TO MOT. TO EXCLUDE TESTIMONY OF
                                                               DR. MICHAEL WILLIAMS AND KEVIN KREITZMAN
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 1          I, Amanda F. Lawrence, declare as follows:

 2          1.      I am an attorney admitted pro hac vice in this action (the “Action”). I am a partner at

 3 Scott+Scott Attorneys at Law LLP, interim Co-Lead Counsel for the Advertiser Classes in the Action.

 4 I submit this declaration in support of Advertiser Plaintiffs’ Opposition to Motion to Exclude

 5 Testimony of Dr. Michael Williams and Kevin Kreitzman. The contents of this declaration are based

 6 on my personal knowledge, including my personal knowledge of the documents cited herein. The

 7 facts set forth herein are within my personal knowledge and if called as a witness, I could and would

 8 competently testify to them.
 9          2.      Attached hereto as Exhibit 1 is a true and correct copy of Justin McCrary and Daniel
10 Rubinfeld, Measuring Benchmark Damages in Antitrust Litigation, J. OF ECONOMETRIC METHODS 3,

11 63-74 (2014).

12          3.      Attached hereto as Exhibit 2 is a true and correct copy of Franco Modigliani and

13 Merton H. Miller, The Cost of Capital, Corporation Finance and the Theory of Investment, AM.

14 ECON. REV. 48, 261-297 (1958).

15          4.      Attached hereto as Exhibit 3 is a true and correct copy of Merton H. Miller and Franco

16 Modigliani, Dividend Policy, Growth, and the Valuation of Shares, J. OF BUS. 34, 411-433 (1961).

17          5.      Attached hereto as Exhibit 4 is a true and correct copy of excerpts from Tim Koller,

18 et al., VALUATION: MEASURING AND MANAGING THE VALUE OF COMPANIES (7th ed. 2020).

19          6.      Attached hereto as Exhibit 5 is a true and correct copy of excerpts from Dennis W.

20 Carlton and Jeffrey M. Perloff, MODERN INDUSTRIAL ORGANIZATION (4th ed. 2005).

21          7.      Attached hereto as Exhibit 6 is a true and correct copy of Section 397 of Phillip A.

22 Areeda & Herbert Hovenkamp, Antitrust Law: An Analysis of Antitrust Principles and Their

23 Application (2023).

24          8.      Attached hereto as Exhibit 7 is a true and correct copy of Section 43.35 of David L.

25 Faigman, et al., 5 Mod. Sci. Evid.: The Law and Science of Expert Testimony, (2022-2023 ed.).

26          9.      Attached hereto as Exhibit 8 is a true and correct copy of Chapter 4, Section B of

27 Proving Antitrust Damages: Legal and Economic Issues (3d ed. 2017).

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     CONSOLIDATED CASE NO. 3:20-CV-08570-JD         DECL. OF AMANDA F. LAWRENCE ISO ADVERTISER PLAINTIFFS’
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                                                                DR. MICHAEL WILLIAMS AND KEVIN KREITZMAN
          Case 3:20-cv-08570-JD Document 680-1 Filed 10/20/23 Page 3 of 4




 1          10.     Attached hereto as Exhibit 9 is a true and correct copy of excerpts from Mark A. Allen,

 2 Reference Guide on Estimation of Economic Damages, REFERENCE MANUAL ON SCIENTIFIC

 3 EVIDENCE 432 (3d. 2011).

 4          11.     Attached hereto as Exhibit 10 is a true and correct copy of excerpts from the

 5 Deposition Transcript of Kevin Kreitzman, dated October 2, 2023.

 6          12.     Attached hereto as Exhibit 11 is a true and correct copy of excerpts from the

 7 Deposition Transcript of Michael Williams, dated September 26, 2023.

 8          13.     Attached hereto as Exhibit 12 is a true and correct copy of a document produced by
 9 Meta Platforms, Inc. in this action bearing Bates-stamp PALM-012438929.

10          14.     Attached hereto as Exhibit 13 is a true and correct copy of a document produced by
11 Meta Platforms, Inc. in this action bearing Bates-stamp PALM-016416805.

12          15.     Attached hereto as Exhibit 14 is a true and correct copy of Section 392 of Phillip A.
13 Areeda & Herbert Hovenkamp, Antitrust Law: An Analysis of Antitrust Principles and Their

14 Application (2023).

15          16.     Attached hereto as Exhibit 15 is a true and correct copy of Chapter 7 from Aswath
16 Damodaran, DAMODARAN ON VALUATION: SECURITY ANALYSIS FOR INVESTMENT AND CORPORATE

17 FINANCE (2006).

18          17.     Attached hereto as Exhibit 16 is a true and correct copy of excerpts from the

19 Consolidated Annual Report of Wirtualna Polska Capital Group for the year ending December 31,

20 2016.

21          18.     Attached hereto as Exhibit 17 is a true and correct copy of excerpts from the

22 Consolidated Annual Report of Wirtualna Polska Capital Group for the year ending December 31,

23 2017.

24          19.     Attached hereto as Exhibit 18 is a true and correct copy of excerpts from the Annual

25 Financial Report of Wirtualna Polska Capital Group for the year ending December 31, 2018.

26          20.     Attached hereto as Exhibit 19 is a true and correct copy of excerpts from the Annual

27 Financial Report of Wirtualna Polska Capital Group for the year ending December 31, 2019.

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     CONSOLIDATED CASE NO. 3:20-CV-08570-JD         DECL. OF AMANDA F. LAWRENCE ISO ADVERTISER PLAINTIFFS’
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          Case 3:20-cv-08570-JD Document 680-1 Filed 10/20/23 Page 4 of 4




 1          21.     Attached hereto as Exhibit 20 is a true and correct copy of excerpts from the

 2 Management’s Report on the Activities of the Company and the Capital Group from Wirtualna Polska

 3 Capital Group for the year ending December 31, 2020.

 4          22.     Attached hereto as Exhibit 21 is a true and correct copy of excerpts from ABA Section

 5 of Antitrust Law, ECONOMETRICS: LEGAL, PRACTICAL, AND TECHNICAL ISSUES (2nd ed. 2014).

 6          I declare under penalty of perjury under the laws of the United States of America that the

 7 foregoing is true and correct. Executed on this 20th day of October, 2023 at Colchester, Connecticut.

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                                                           /s/Amanda F. Lawrence
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                                                           Amanda F. Lawrence
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11                                 CERTIFICATE OF SERVICE
12          I hereby certify that on October 20, 2023, I caused a true and correct copy of the foregoing
13 document to be served by electronic mail on all counsel of record.

14 Dated: October 20, 2023                       By:    /s/Amanda F. Lawrence
15                                                     Amanda F. Lawrence

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     CONSOLIDATED CASE NO. 3:20-CV-08570-JD        DECL. OF AMANDA F. LAWRENCE ISO ADVERTISER PLAINTIFFS’
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